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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE

 UNITED STATES OF AMERICA                      )
                                               )
                                               )
 v.                                            )            2:13-cr-00160-GZS
                                               ) Docket no. 2:17-cr-00065-GZS
 ADAM BRAKE,                                   )
                                               )
                                               )
                        Defendant.             )
                                               )


ORDER ON MOTION FOR SENTENCE REDUCTION UNDER 18 U.S.C. § 3582(c)(1)(A)
                   (COMPASSIONATE RELEASE)

       Before the Court is Defendant’s Motion for Compassionate Release (ECF No. 70 in 2:13-

cr-00160-GZS & ECF No. 53 in 2:17-cr-00065-GZS). Having reviewed this Motion, along with

all of the other related filings (ECF Nos. 74-76/57-59) and the entire docket, the Court DENIES

Defendant’s Motion.

       I.      LEGAL STANDARD

       A defendant seeking a sentence reduction under 18 U.S.C. § 3582(c)(1)(A) must prove that

he has exhausted available administrative remedies and that there are “extraordinary and

compelling” reasons that presently warrant a reduction in his sentence.          See 18 U.S.C.

§ 3582(c)(1)(A)(i). In determining what qualifies as extraordinary and compelling, the Court

generally considers whether “the defendant’s situation constitutes the type of extreme hardship

that the compassionate-release statute is designed to ameliorate.” United States v. Saccoccia, 10

F.4th 1, 4 (1st Cir. 2021) (cleaned up).

       This Court has frequently looked to U.S.S.G. § 1B1.13 & Application Note 1 in making a

determination of whether a defendant presents extraordinary and compelling circumstances.
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However, as the First Circuit has recently acknowledged, “the overwhelming majority of the courts

of appeals” have now held that U.S.S.G. § 1B1.13 should not be viewed as limiting the reasons

that the Court might consider extraordinary and compelling when a defendant brings a motion

under 18 U.S.C. § 3582(c)(1)(A). Saccoccia, 10 F.4th at 8 (collecting cases). While the First

Circuit has not explicitly adopted this approach, it has assumed without deciding that “a court

adjudicating a prisoner-initiated motion for compassionate release may go beyond the confines of

the Sentencing Commission’s current policy guidance . . . in determining whether a particular

circumstance or set of circumstances constitutes an extraordinary and compelling reason to grant

the motion.” Id. Given this backdrop, the Court reviews the entire record to consider whether a

defendant presents any extraordinary and compelling reasons for a sentence reduction.

       If the Court finds a defendant has established extraordinary and compelling reasons to

reduce his sentence, the Court must next consider any applicable factors found in 18 U.S.C.

§ 3553(a). See id. (explaining that “section 3553(a) factors may serve as an independent basis for

a district court’s decision to deny a compassionate-release motion”); see also, e.g., United States

v. Almeida, No. 2:11-cr-00127-DBH, 2021 WL 22332, at *2 (D. Me. Jan. 4, 2021) (denying

compassionate release based on § 3553(a) factors after finding that defendant’s medical conditions

qualified as extraordinary and compelling in light of the COVID-19 pandemic).

       II.     DISCUSSION

       Defendant Adam Brake, now 34 years of age, has served more than 75 percent of his 84-

month sentence. Brake is currently listed as Physical Care Level 1/Mental Health Care Level 1 by

the Bureau of Prisons. He is serving his sentence at Terre Haute USP and has an estimated release

date of July 25, 2022. Currently, the facility is reporting six confirmed active COVID-19 cases

among inmates and staff. There have been two reported deaths of inmates due to COVID-19 at




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this facility, and a total of 678 inmates and 23 staff are listed as recovered. Additionally, at Terre

Haute FCC, 332 staff members and 1865 inmates have been fully vaccinated to date. 1

           The Court acknowledges that the ongoing pandemic is an extraordinary event for our entire

country and has been especially challenging for the Bureau of Prisons. However, it is against this

backdrop that a defendant must show individualized extraordinary and compelling reasons why he

should not be required to serve the remainder of his sentence. In his Motion and attached exhibits,

Brake cited his BMI, issues with edema in his legs, as well as mental health issues related to his

stress level and the conditions of his confinement. He also noted his mother’s health and wanting

to have more contact with his children.

           Brake has filed multiple responses to the Court’s July 29, 2021 Order to Show Cause, these

responses assert multiple complaints about the conditions of his confinement and the effect these

conditions are having on his mental health. He also expresses increasing concern about how his

continuing incarceration is impacting his relationship with family members and his ability to

secure any remaining inheritance from his father. Additionally, Brake has provided the Court with

an admirable release plan containing both short and long term goals.

           Even assuming all of Brake’s current complaints could be verified, the Court does not find

that the asserted combination of health conditions and family circumstances qualify as

“extraordinary and compelling reasons” that presently warrant a reduction in his sentence, as

required by 18 U.S.C. § 3582(c)(1)(A)(i). The Court notes that Brake’s more recent filings suggest

that his complaints relate to a unique combination of conditions at his present facility. However,

these complaints are not properly reviewed by this Court in the context of the pending motion. 2


1
    See https://www.bop.gov/coronavirus/ (last visited 10/4/2021).
2
  Two apparent problems foreclose this Court from reviewing Brake’s complaint about the conditions of his
confinement: lack of jurisdiction and failure to exhaust. See, e.g., Parker v. Hazelwood, No. 17-CV-484-LM, 2019


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         Even assuming the Court were to find extraordinary and compelling reasons on the present

record, the Court also must consider any applicable factors found in 18 U.S.C. § 3553(a). Here,

these factors similarly weigh in favor of Brake continuing to serve the previously imposed

sentence. Brake was found to be criminal history category VI at his most recent sentencing. As

noted in the Probation filing related to his motion, he has had four incident reports during his

current incarceration and also failed to successfully complete the RDAP program. While Brake

has submitted a release plan as part of his pro se submissions to the Court, it does not appear that

Probation or BOP have had an opportunity to assess the viability of this plan. On the record

presented, the Court concludes that the § 3553(a) factors presently weigh in favor of not modifying

Brake’s sentence to allow for his immediate release.

         Based on the Court’s inability to find extraordinary and compelling circumstances, as well

as the Court’s consideration of the applicable § 3553(a) factors, the pending Motion for

Compassionate Release (ECF Nos. 70/53) is hereby DENIED.

         SO ORDERED.

                                                                /s/ George Z. Singal
                                                                United States District Judge

Dated this 5th day of October, 2021.




WL 4261832, at *2 (D.N.H. Sept. 9, 2019) (explaining the “two jurisdictional limitations on a district court’s authority
to grant writs of habeas corpus: the ‘immediate-custodian rule’ and the ‘territorial-jurisdiction rule.’”); see also 42
U.S.C. § 1997e(a) (the exhaustion provision of the Prison Litigation Reform Act (“PLRA”)); Ross v. Blake, 578 U.S.
632 (2016) (“[M]andatory exhaustion statutes like the PLRA establish mandatory exhaustion regimes, foreclosing
judicial discretion.”)


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